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                           10-40221
_____________________________________________________________

        IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
_____________________________________________________________

                    UNITED STATES OF AMERICA
                         Plaintiff – Appellee

                                    v.

                    OZIEL CARDENAS-GUILLEN
                        Defendant – Appellee

                                    v.

 HEARST NEWSPAPERS, L.L.C., doing business as Houston Chronicle
                  Intervenor – Appellant
             _____________________________

           On Appeal from the United States District Court for
          the Southern District of Texas, Brownsville Division
 Criminal Action No. 00-CR-118; Miscellaneous Action No. 10-MC-002
_____________________________________________________________
                    BRIEF OF APPELLANT
_____________________________________________________________

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                   CERTIFICATE OF INTERESTED PERSONS

                          Case Number 10-40221
     _____________________________________________________________

                             UNITED STATES OF AMERICA
                                  Plaintiff – Appellee

                                             v.

                             OZIEL CARDENAS-GUILLEN
                                 Defendant – Appellee

                                             v.

      HEARST NEWSPAPERS, L.L.C., doing business as Houston Chronicle
                          Intervenor – Appellant
     _____________________________________________________________

       The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the judges of

this court may evaluate possible disqualification or recusal.

       Here list names of all such persons and entities and their connection and

interest:

A.     Parties:

       Intervenor – Appellant:

       Hearst Newspapers, LLC d/b/a Houston Chronicle
                                    Counsel of Record:
                                    Jonathan R. Donnellan
                                    Ravi V. Sitwala

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                              The Hearst Corporation
                              300 West 57th Street
                              New York, New York 10019

Hearst Newspapers, LLC is subsidiary of the Hearst Corporation. The
Hearst Corporation is not publicly traded.

Plaintiff – Appellee:

United States of America
                              Counsel of Record:
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                     Attorney of Record for Appellant
                     Hearst Newspapers, LLC d/b/a Houston Chronicle




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                         REQUEST FOR ORAL ARGUMENT

      Hearst Newspapers, LLC d/b/a The Houston Chronicle requests oral

argument in light of the important constitutional issues presented in this appeal.




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                       JURISDICTIONAL STATEMENT

      The district court had subject matter jurisdiction over this criminal action

pursuant to 18 U.S.C. § 3231. This appeal is from several orders that disposed of

requests for relief by appellant Hearst Newspapers, LLC d/b/a The Houston

Chronicle. The written orders appealed from are dated February 24, 2010 and

February 26, 2010, and are expressly denoted “final” and “immediately

appealable.” The oral orders appealed from were issued at a hearing on February

24, 2010, and are memorialized in a written order unsealed after the hearing. All

of the appealed-from orders – orders concerning closure of court proceedings – are

collateral orders that may be appealed even if considered interlocutory. See Davis

v. E. Baton Rouge Parish Sch. Bd., 78 F.3d 920, 926 (5th Cir. 1996) (“[M]embers

of the news media, although not parties to litigation, can appeal court closure

orders or confidentiality orders under the collateral order doctrine.”). Appellant

filed a timely notice of appeal on March 9, 2010. This court has jurisdiction over

the district court’s orders concerning access to judicial proceedings pursuant to 28

U.S.C. § 1291 and the collateral-order doctrine. See United States v. Edwards, 823

F.2d 111, 114 (5th Cir. 1987). The issues presented are not moot because they are

capable of repetition, yet evading review. Id. (citing Richmond Newspapers, Inc. v.

Virginia, 448 U.S. 555, 563 (1980)). Appellant’s standing to raise the issues

presented has never been questioned and the district court granted Appellant’s



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motion to intervene. See Davis, 78 F.3d at 927 (holding that media had standing to

challenge confidentiality order).

                         STATEMENT OF THE ISSUE

      Whether the district court violated the public’s First Amendment right of

access to Defendant’s sentencing proceeding by refusing to follow the procedural

requirements that make the right enforceable, including denying Appellant’s

request for notice and an opportunity to be heard prior to closure of proceedings,

conducting all hearings related to sentencing in secret, posting “notice” of such

hearings only after they concluded to ensure the press and public would not attend

or challenge closure, and refusing to hear objections to closure even when those

efforts failed and counsel for Appellant appeared at court prior to commencement

of sentencing.

                          STATEMENT OF THE CASE

      This is an appeal from a series of decisions by the district court calculated to

deny the public access to the proceedings and records of this criminal action, and

to allow adjudication of the case in secret. So comprehensive was the secrecy

surrounding this case that the public did not know, and had no way of knowing,

that Defendant had pleaded guilty or was to be sentenced when that day came. The

court in fact took affirmative steps to ensure that the public would have no advance

notice of the sentencing hearing or be able to challenge its closure, violating



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procedural requirements of the First Amendment right of access that are

fundamental and necessary to ensure the enforceability of that right. This level of

secrecy was accomplished by wholesale sealing of most documents, which the

court allowed without any consideration of the public’s right of access, and

refusing to give advance notice of any hearings, so that the public could not attend

or challenge closure.

      Specifically at issue on this appeal are orders denying Intervenor-Appellant

Hearst Newspapers, LLC d/b/a Houston Chronicle (the “Chronicle”) notice of

contemplated court closures and an opportunity to he heard on closure. The

district court denied the Chronicle’s request for notice and an opportunity to be

heard and went a step further, ordering during a closed hearing that public notice of

Defendant’s sentencing hearing be posted only after the sentencing had concluded,

a decision that was designed to ensure the court’s closure order would not be

challenged. When the Chronicle learned of the sentencing notwithstanding these

efforts, and its lawyer showed up at court to challenge closure of the sentencing,

the district court nonetheless refused to hear those objections. It later denied the

Chronicle’s request to be heard as “moot,” having created the claimed mootness

through its own inaction.




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                    STATEMENT OF RELEVANT FACTS

      In 2007, the United States took custody of Oziel Cardenas-Guillen

(“Cardenas-Guillen” or “Defendant”), the former head of the Gulf Cartel. (Record

Excerpts (“R.E.”) Tab J at R. USCA5 75)1 Defendant was charged with being

involved in conspiracies to distribute large quantities of marihuana and cocaine,

violation of the continuing-criminal-enterprise statute, commonly known as the

“drug kingpin statute,” and threatening federal officers, among other things. (R.E.

Tab D at R. USCA5 32-52) According to the Government, Defendant “is widely

believed to be partly responsible for the ongoing drug trafficking wars and

‘bloodbaths’ along the Mexican border, resulting in the deaths of approximately

2000 people.” (R.E. Tab J at R. USCA5 75) The case was assigned to Judge Hilda

Tagle in the Brownsville Division of the Southern District of Texas.

      Early on in the case, the Government moved to transfer venue from

Brownsville to Houston, citing, among other things, concerns over courtroom

security in Brownsville, due to its proximity to the Mexican border. (R.E. Tab J at


1
       Record Excerpts are cited as “R.E. Tab [tab number] at [record and page
number].” Citations to materials in the record not included in the Record Excerpts
are cited as follows: (1) pages in the Record on Appeal from the criminal case (No.
1:00-CR-118-1) are cited as “R. [record page number]”; (2) pages in the
Supplemental Record on Appeal from the criminal case are cited as “Supp. R.
[record page number]”; and (3) pages in the Record on Appeal from the
miscellaneous case (No. 1:10-MC-2) are cited as “Misc. R. [record page number].”
Note that the vast majority of the citations in this brief are to the original criminal
record and not the supplemental or miscellaneous record.

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R. USCA5 72-82) The Government explained that “there is good cause for

concern for the general security of court personnel and other necessary personnel

and civilians, to include prospective jurors, in the event that this case was litigated

in the Brownsville Division.” (Id. at USCA5 77) Accordingly, the Government

moved for transfer noting that “the United States Marshal’s Service (USMS) is of

the opinion that a transfer of the case from the Brownsville Division to the

Houston Division would best suit its needs and responsibilities.” (Id. at USCA5 80)

Included with the motion was a letter from USMS concluding that: “Houston

presents the best option for USMS personnel to safely, adequately, and securely

meet all the needs and perform all the duties associated with the trial of the

Cardenas-Guillen case. Even with respect to Houston, additional USMS personnel

will be requested from other USMS Divisions to assist with Houston-area

transportation and security concerns.” (Id. at USCA5 85) The motion and the

letter, like most filings in the case, was made under seal, and not unsealed until

February of this year following sentencing, three years after it was filed. The

district court, after receiving no opposition from Defendant, granted the transfer

motion – directing that the court would hear the case in Houston. (R. USCA5 129-

33)

      The case proceeded slowly, with Defendant requesting and receiving several

unopposed continuances. (Crim. Docket Entry Nos. 91, 103, 114, 122, 126, 130,



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R.E. Tab A at Supp. R. USCA5 10-13) In March 2009, the pace of filings appears

to have picked up after the district court terminated all deadlines in the case (Id. at

Supp. R. USCA5 14), but it was impossible to discern what was transpiring at the

time because almost all filings were made under seal (see id. at Supp. R. USCA5

14-16). In many instances, the documents appear to have been sealed unilaterally

by the parties, without any findings or indeed any action whatsoever by the court.

(See, e.g., id. at Supp. R. USCA5 10, 14, 16, Crim. Docket Entry Nos. 94, 181,

228-30) For some filings, the parties did move for sealing but only offered

conclusory reasons and generic orders, which the court entered. (See, e.g., R.

USCA5 162-66)

      On October 30, 2009, the Chronicle sent a letter to the court requesting that

the record be unsealed and that proper procedures be followed with respect to

courtroom closure and document sealing going forward. (R. USCA5 275-80)

Among other things, the Chronicle sought notice of proposed closure or sealing

and an opportunity to be heard. (R. USCA5 275)

      In response to the letter, the court recognized the Chronicle’s right of access

and ordered the parties to submit reasons why previously sealed documents should

remain under seal. (R. USCA5 228-29) The court also laid out procedures for

future closure and sealing. (Id.; R. USCA5 238-39)




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      After getting an “unopposed” extension to file the statements regarding

continued sealing of previously sealed documents, the parties filed substantially

identical filings.2 (Compare R. USCA5 240-47, with R. USCA5 248-67) The

parties conceded that several documents did not need to remain sealed, but insisted

that many others did until the conclusion of the case. (See R. USCA5 256-66) The

statements simply recited general interests – Defendant’s fair-trial right, ongoing

investigations, and third-party safety – but did not explain with any specificity how

disclosure of the documents would jeopardize those interests. (See id.) The

Government filed a separate sealed memorandum purporting to explain in detail

why sealing was necessary. (See R. USCA5 265)

      On February 9, 2010, in response to the statements, the Chronicle moved to

intervene and requested that the uncontested documents be unsealed immediately,

that the docket be updated to provide the title or some other meaningful description

of the sealed documents to allow the public to appreciate the nature of the

documents, that the Government’s sealed memoranda be unsealed at least in

redacted form to allow the Chronicle to respond, and that the court narrowly tailor

any sealing through redaction and enter specific on-the-record findings as to any

documents or portions thereof that it maintains under seal. (R. USCA5 268-73)

2
       The motion was unopposed in the sense that neither the Government nor the
Defendant opposed it. The Chronicle would have opposed it but was not a party at
the time as it had not yet moved to intervene, and neither party sought the
Chronicle’s position on the motion.

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      The court unsealed the uncontested documents in an order dated February 12,

2010, but reserved ruling on the remaining requests until after the case concluded.

(R. USCA5 282)

      Unbeknown to the Chronicle, the Government moved on February 18, 2010

to close Defendant’s sentencing hearing – the public at that point was unaware that

Defendant had pleaded guilty – and moved also to deprive the public of notice that

the hearing was even taking place. (R. USCA5 345) The following day, the court,

without giving the public or the Chronicle notice or an opportunity to be heard on

the question, granted the motion in a sealed order with conclusory findings

justifying the order. (R.E. Tab E at R. USCA5 292-93) The order expressly stated

it shall not be unsealed until after the sentencing hearing took place. (Id.; see also

R.E. Tab L at R. USCA5 312) The court also appears to have stricken the motion

from the record after granting it, preventing the public from ever having access to

it. (R. USCA5 295. But see R.E. Tab L at R. USCA5 312 (noting that the

materials would be maintained under seal))

      The court secretly scheduled the sentencing for February 25, 2010. (See R.E.

Tab I at R. USCA5 346) Apparently, a local television station learned the date of

the secret sentencing hearing, and it began making inquiries as to whether the

February 25 “trial” was in fact taking place. (Id.) In response, the court secretly

rescheduled the sentencing for February 24. (Id.) When the hearing was being



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initiated, a Chronicle reporter happened upon the closed courtroom and attempted

to gain admission to no avail. (See R.E. Tab L at R. USCA5 310) A lawyer for the

Chronicle quickly joined him and sought to be heard on the closure. (See Misc. R.

USCA5 17) The court was well aware of these happenings, and even stated “for

the record,” prior to moving to the substance of the hearing, that “in spite of all the

efforts to ensure that this hearing not be noticed by the media, I am told that there

is a reporter from the Houston Chronicle who is, as I speak, drafting a motion

regarding his request to be heard – or to be present during the – the hearing.” (R.E.

Tab L at R. USCA5 310) But instead of hearing the motion, the court continued

with the hearing behind closed doors. (Id.) Only afterwards did the court deny the

Chronicle’s motion to be heard – and, remarkably, it denied the motion as moot

even though that conclusion was possible only because of the court’s refusal to

hear the motion prior to the sentencing. (R.E. Tab F at R. USCA5 373) The court

also noted in its denial that opening the hearing “would have resulted in a

substantial probability that the safety of a third party of the defendant would be

placed in danger,” notwithstanding the U.S. Marshals Service’s prior position that

it could secure the proceedings if transferred to Houston. (Id.) The transcript of

the hearing was released once it was prepared by the reporter. (See R.E. Tab L at

R. USCA5 312)




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      Because the sentencing concluded the case, the Chronicle moved to unseal

all records, given the Government’s previous representation that all the sealed

materials it submitted could be unsealed when the case concluded (with the

exception of one document, which the Government claimed could only be released

in redacted form). (R. USCA5 326-28) The court ruled on the remainder of the

Chronicle’s previous requests on February 26, 2010, finding that many documents

could be unsealed, but some could remain under seal “in perpetuity.” (R.E. Tab G

at R. USCA5 334-35) The court denied the Chronicle’s motion for meaningful

docket entries with respect to sealed filings, explaining that it was not necessary

and would frustrate the purpose of sealing, without explaining how. (Id. at R.

USCA5 335) It also denied the Chronicle’s request for notice of contemplated

closure and an opportunity to be heard, finding that notice “is not required” and

“requiring that the intervenors be granted an opportunity to be heard would

frustrate the purposes of sealing the hearing.” (Id. at R. USCA5 336) The court

apparently offered more-detailed reasons for its decision in a sealed filing. (Id.)

      A review of the unsealed documents reveals that many (if not all) never

should have been sealed. For example, Defendant moved to unseal a transcript for

the limited purpose of reviewing it to propose redactions, and the court sealed the

motion along with its order granting the motion, finding that sealing was necessary

to protect the Defendant’s fair-trial right and ongoing government investigations,



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even though the documents contain nothing of substance. (See R. USCA5 283-91)

Similarly, the motion to transfer and order granting the motion were sealed for no

apparent reason. (See R.E. Tab J at R. USCA5 72-81)

      The Chronicle timely appealed the district court’s orders denying the

Chronicle fundamental procedural protections in an attempt to thwart the public’s

right of access to criminal proceedings secured by the First Amendment to the

Constitution. (R.E. Tab B at R. USCA5 361-62)

                      SUMMARY OF THE ARGUMENT

      The district court flagrantly disregarded the public’s First Amendment right

of access to criminal proceedings in a conscious effort to prevent the public and the

Chronicle from even attempting to exercise their rights or seek relief from this

Court. This was done in order to allow the Government to complete the

prosecution of a high-profile drug kingpin under a cloak of secrecy. The secret

proceedings resulted in only a 25-year sentence based on a plea deal for a man the

district court recognized as responsible for untold violence and death, prompting

the court to express misgivings over the term. The disconnect between

Defendant’s deeds and his sentence, imposed as it was in secret, is a potent

reminder of the policy concerns that underlie the right of access: “A result

considered untoward may undermine public confidence, and where the trial has

been concealed from public view an unexpected outcome can cause a reaction that



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the system at best has failed and at worst has been corrupted.” Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 571 (1980). “People in an open

society do not demand infallibility from their institutions, but it is difficult for them

to accept what they are prohibited from observing.” Id. at 572. The secret

proceedings in this case raise the specter of the Star Chamber and other

“institutions obviously symboliz[ing] a menace to liberty” that were anathema to

the founders of this country. See In re Oliver, 333 U.S. 257, 269-70 (1948).

      There are fundamental procedural requirements that must be met prior to any

abridgement of the First Amendment right of access. Without them, the access

right cannot be enforced and is meaningless. The public must have notice of

contemplated closure, an opportunity to be heard on closure, and if the court deems

that closure is essential to preserve a value higher than the First Amendment and

no reasonable alternative to closure exists, it must make specific, on-the-record

findings justifying closure. This case illustrates how critical these procedural

requirements are, as without strict fidelity to them there is no right of access at all.

As Justice Frankfurter explained, “[t]he history of liberty has largely been the

history of observance of procedural safeguards.” McNabb v. United States, 318

U.S. 332, 347 (1943). This is particularly true when it comes to enforcing the First

Amendment right of access, where the public by definition lacks access to

information about the matters sought to be closed or sealed. By choosing to ignore



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the procedures and secretly adjudicate the case, the court left the public with no

recourse and irreparably harmed the public’s First Amendment right.

      The district court in this case failed to give public notice of Defendant

Cardenas-Guillen’s sentencing hearing, or to allow interested parties to contest

closure of that hearing. Instead, at the parties’ urging, the court purposefully

concealed the time and place of the hearing so as to avoid any detection by the

public and the press, and even when the press happened upon the hearing and

demanded to be heard, the court refused to hear the press. These actions clearly

violated the First Amendment.

                            STANDARD OF REVIEW

      The district court’s decisions concerning the First Amendment right of

access to criminal proceedings are reviewed de novo. See, e.g., Va. Dep’t of State

Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004) (“We review a district

court’s decision concerning access under the First Amendment de novo.”); see also

Bose Corp. v. Consumers Union of United States, Inc., 466 U.S. 485, 499 (1984)

(“[I]n cases raising First Amendment issues [the Supreme Court] ha[s] repeatedly

held that an appellate court has an obligation to make an independent examination

of the whole record in order to make sure that the judgment does not constitute a

forbidden intrusion on the field of free expression.”).




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                                    ARGUMENT

    THE DISTRICT COURT DISREGARDED CONSTITUTIONALLY REQUIRED
 PROCEDURES IN CLOSING THE SENTENCING HEARING WITHOUT NOTICE OR AN
       OPPORTUNITY FOR THE PUBLIC AND THE PRESS TO BE HEARD

      The district court denied the Chronicle’s request for notice and an

opportunity to be heard regarding the closure of hearings in the case. It also took

purposeful efforts to deprive the Chronicle of notice of Defendant’s sentencing

hearing. And even after those efforts were unsuccessful and the Chronicle moved

to open the hearing, it still refused to hear the Chronicle’s objections to closure of

the hearing. All of these actions violated the First Amendment’s procedural

safeguards of the fundamental American right to attend criminal proceedings. The

district court’s actions struck at the very heart of the access right, rendering it

unenforceable through disregard for the First Amendment’s procedural

requirements. The court cannot constitutionally avoid scrutiny by takings steps to

prevent the public from even attempting to exercise its substantive right.

A.    The First Amendment Right of Access to Criminal Proceedings Is
      Secured by Fundamental Procedural Protections
      The Supreme Court has repeatedly recognized a broad First Amendment

right of access to criminal proceedings. Beginning with Richmond Newspapers,

Inc. v. Virginia, 448 U.S. 555 (1980), the Court has crafted a constitutional

standard for access focused on the “history and logic” of public access to the

proceedings at issue. Applying that test, the Court has held there is a constitutional


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right of access to all phases of criminal proceedings it has considered, including

jury voir dire hearings, pretrial suppression hearings, pretrial preliminary hearings,

and trials. See Richmond Newspapers, 448 U.S. 555 (trial); Press-Enterprise Co. v.

Superior Court (Press-Enterprise I), 464 U.S. 501 (1984) (jury voir dire); Waller v.

Georgia, 467 U.S. 39 (1984) (suppression hearings); Press-Enterprise Co. v.

Superior Court (Press-Enterprise II), 478 U.S. 1 (1986) (preliminary hearings).

Just this term, the Court reaffirmed this right of access. Presley v. Georgia, 130 S.

Ct. 721, 723 (2010) (“[T]he voir dire of prospective jurors must be open to the

public under the First Amendment.”).

      Access to criminal proceedings is a fundamental First Amendment right

grounded in critical policy interests, most notably ensuring fairness and public

confidence in the adjudicative system. In Press-Enterprise I, the Court explained:

      The value of openness lies in the fact that people not actually
      attending trials can have confidence that standards of fairness are
      being observed; the sure knowledge that anyone is free to attend gives
      assurance that established procedures are being followed and that
      deviations will become known. Openness thus enhances both the
      basic fairness of the criminal trial and the appearance of fairness so
      essential to public confidence in the system.

464 U.S. at 508. Openness “has long been recognized as an indispensable attribute

of an Anglo-American trial.” Richmond Newspapers, 448 U.S. at 569. The Court

went on to explain:

      It is not enough to say that results alone will satiate the natural
      community desire for “satisfaction.” A result considered untoward


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      may undermine public confidence, and where the trial has been
      concealed from public view an unexpected outcome can cause a
      reaction that the system at best has failed and at worst has been
      corrupted. To work effectively, it is important that society’s criminal
      process satisfy the appearance of justice, and the appearance of justice
      can best be provided by allowing people to observe it.

Id. at 571-72 (citation and quotations omitted).

      Based on this understanding, the Court in Press-Enterprise II held that the

First Amendment access right applies to all aspects of court proceedings unless

they “would be totally frustrated if conducted openly,” citing grand-jury

proceedings as the single example of a proceeding that would be frustrated by

openness. Press-Enterprise II, 478 U.S. at 8-9. The Court also emphasized the

importance of the right of access to proceedings where no jury is present. Id. at

12-13 (“[T]he absence of a jury, long recognized as ‘an inestimable safeguard

against the corrupt or overzealous prosecutor and against the compliant, biased, or

eccentric judge,’ makes the importance of public access . . . even more

significant.”) (quoting Duncan v. Louisiana, 391 U.S. 145, 156 (1968)).

      The Supreme Court’s repeated and emphatic pronouncements in favor of

public access to criminal proceedings have led other courts to hold that the First

Amendment access right attaches to virtually all aspects of those proceedings, from

beginning to end. See, e.g., United States v. Chagra, 701 F.2d 354 (5th Cir. 1983)

(bail-related hearings); United States v. Cojab, 996 F.2d 1404, 1405 (2d Cir. 1993)

(unspecified pretrial hearings); Application of NBC, 828 F.2d 340 (6th Cir. 1987)


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(judicial-disqualification and attorney-conflict-of-interest proceedings); see also

C. Thomas Dienes et al., Newsgathering and the Law § 3.01[1] (3d ed. 2005)

(“Today, almost all pretrial proceedings are presumptively open.”). In particular,

courts have held that the right clearly extends to sentencing hearings. See, e.g.,

United States. v. Alcantara, 396 F.3d 189, 196 (2d Cir. 2005) (noting that “[t]here

is little doubt that the First Amendment right of access extends to sentencing

proceedings” and, after analyzing the question, concluding that the “First

Amendment right of public access attaches to sentencing proceedings”); accord

United States v. Eppinger, 49 F.3d 1244, 1253 (7th Cir. 1995); In re Wash. Post

Co., 807 F.2d 383, 390 (4th Cir. 1986); see also 18 U.S.C. § 3553 (requiring

certain statements at sentencing to be “in open court”).

      While the First Amendment access right is not absolute, there is an

exceptionally high bar for overriding it and the burden is squarely on the party

seeking closure to justify it. The court also has an independent affirmative

obligation to safeguard the public’s right of access. Closure is permitted only

when it “is essential to preserve higher values and is narrowly tailored to serve that

interest.” Press-Enterprise I, 464 U.S. at 510. Speculative concerns, even if

serious, cannot trump the access right. See Globe Newspaper Co. v. Superior

Court, 457 U.S. 596, 609-10 (1982). Instead, the court must find based on specific

facts that closure is necessary to protect an interest superior to the First



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Amendment. See Press-Enterprise I, 464 U.S. at 510. To satisfy the narrow-

tailoring requirement, the court must find that no reasonable alternatives to closure

exist. Id. In doing so, the court must independently consider alternatives to

closure even when none are offered. Presley, 130 S. Ct. at 724 (“The conclusion

that trial courts are required to consider alternatives to closure even when they are

not offered by the parties is clear not only from this Court’s precedents but also

from the premise that ‘[t]he process of juror selection is itself a matter of

importance, not simply to the adversaries but to the criminal justice system.’”)

(quoting Press-Enterprise I, 464 U.S. at 505). Narrow tailoring also requires that

only so much of the hearing as necessary be closed. See Waller, 467 U.S. at 48

(holding that “closure of the entire suppression hearing plainly was unjustified”

and noting that “[u]nder certain circumstances, . . . interests may well justify

closing portions of a suppression hearing to the public”).

      The constitutional right of access would be worth little without the

procedural architecture that gives it structure and ensures its enforceability. This is

particularly true given that those seeking access rarely possess sufficient

information to challenge a denial without adherence to those procedures. Thus, a

set of strict procedural rules have been developed by the courts to give life to the

right of access, including requirements of notice of contemplated closure, an




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opportunity for interested parties to be heard regarding closure, and the entry of

specific factual findings supporting closure in the record.

      The Supreme Court has made clear that prior to exclusion of the press and

public from a criminal hearing, the press and public “‘must be given an

opportunity to be heard on the question of their exclusion.’” Globe, 457 U.S. at

609 n.16 (quoting Gannett Co. v. DePasquale, 443 U.S. 368, 401 (1979) (Powell,

J., concurring)); United States v. Edwards, 823 F.2d 111, 119 (5th Cir. 1987)

(quoting Globe). Courts have held that in order for this right to be meaningful, the

public and the press are also entitled to notice of contemplated closure, in order to

object. In United States v. Criden, the Third Circuit held that “due process requires

some notice to the public before a trial court may close a pretrial criminal

proceeding.” 675 F.2d 550, 558 (3d Cir. 1982). It noted that “[t]he press should

not be expected to ‘camp out’ in the hallway in order to ascertain whether

evidentiary proceedings are being conducted in chambers.” Id. at 559. Ultimately,

the court, pursuant to its supervisory powers, “require[d] docketing of . . . motions

[to close] to be made sufficiently in advance of any hearing on or disposition of the

closure motion to afford interested members of the public an opportunity to

intervene and present their views to the court.” Id.

      Similarly, in United States v. Brooklier, the Ninth Circuit held: “[W]here a

closure motion is not filed of record or made in open court, and when, as here, the



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court has been made aware of the desire of specific members of the public to be

present, reasonable steps should be taken to afford such persons an opportunity to

submit their views to the court before exclusion is accomplished.” 685 F.2d 1162,

1168 (9th Cir. 1982). The Fourth Circuit has adopted the notice requirements of

Criden and Brooklier. See In re Knight Publ’g Co., 743 F.2d 231, 234 (4th Cir.

1984).

      In In re Herald Co., the Second Circuit observed that “it seems entirely

inadequate to leave the vindication of a First Amendment right to the fortuitous

presence in the courtroom of a public spirited citizen willing to complain about

closure.” 734 F.2d 93, 102 (2d Cir. 1984). Accordingly, “[s]ome form of public

notice should be given, since it is important, perhaps especially so, to afford an

opportunity to challenge courtroom closure accomplished in the absence of

spectators.” Id. The court ultimately held that “a motion for courtroom closure

should be docketed in the public docket” and, if made under seal, “the publicly

maintained docket entries should reflect the fact that the motion was filed, the fact

that the motion and any supporting or opposing papers were filed under seal, the

time and place of any hearing on the motion, the occurrence of such hearing, the

disposition of the motion, and the fact of courtroom closure, whether ordered upon

motion of a party or by the Court sua sponte.” Id. at 102-03; accord Alcantara,

396 F.3d at 192; Cojab, 996 F.2d at 1408.



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      If after giving notice and hearing any interested parties, a court concludes

that closure is necessary and that no less-restrictive alternatives to closure exist, it

is required to make specific, on-the-record findings demonstrating why closure is

necessary and would be effective. Edwards, 823 F.2d at 119 (citing Press-

Enterprise II); In re Associated Press, 162 F.3d 503, 510 n.9 (7th Cir. 1998)

(collecting cases requiring specific, on-the-record findings).

      Without these procedural protections, the right of access would be a dead

letter. Absent notice, the public would not know when or where to exercise its

right to attend proceedings. If there were no right to be heard, the public could not

defend its right to be present and hold the parties and the court to the high burden

that must be satisfied to justify closure. And the requirement of specific, on-the-

record findings supporting closure allows for scrutiny of closure decisions and

meaningful appellate review. Indeed, the policies underlying these procedures are

the same as those underlying the access right itself – to enhance decisionmaking

and public confidence in the courts through transparency.

      Ignoring the procedural protections does irreparable violence to the right of

access – leaving it only an empty shell. Justice Frankfurter succinctly made the

point with a truism that applies to virtually all constitutional rights: “The history

of liberty has largely been the history of observance of procedural safeguards.”

McNabb v. United States, 318 U.S. 332, 347 (1943); accord Malinski v. New York,



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324 U.S. 401, 413-14 (1945) (Frankfurter, J., concurring separately) (“The history

of American freedom is, in no small measure, the history of procedure.”).

Accordingly, “[t]he procedures by which the facts of the case are determined

assume an importance fully as great as the validity of the substantive rule of law to

be applied. And the more important the rights at stake the more important must be

the procedural safeguards surrounding those rights.” Speiser v. Randall, 357 U.S.

513, 520-21 (1958). Nowhere is that more true than with respect to the right of

access to criminal proceedings, where the public will almost always lack the

information needed to anticipate a closure motion or evaluate the merits of closure.

Accordingly, adherence to the procedures is essential to ensure that all arguments

are presented and considered, the public interest is fully reviewed, and a well-

reasoned decision is issued to the public supported by record evidence. See

Hudson v. Chi. Teachers Union Local No. 1,743 F.2d 1187, 1192 (7th Cir. 1984)

(Posner, J.) (“Just the danger (as distinct from actuality) of depriving people of the

freedom of expression guaranteed by the First Amendment has led courts to

invalidate procedures that created the danger.”); see also In re Washington Post

Co., 807 F.2d at 393 (“We note that our decision does not signify that we conclude

that those hearings should have been opened to the public, but simply that we

cannot uphold orders based on the use of impermissible procedures and the

application of an erroneous standard of law.”). See generally Henry P. Monaghan,



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First Amendment “Due Process,” 83 Harv. L. Rev. 518 (1970). When a court

disregards these procedural rights, it violates the public trust and undermines

public confidence in the justice system.

B.    The District Court Flagrantly Denied the Chronicle’s Procedural Rights

      The district court in this case totally deprived the public of its right to attend

the criminal proceedings by disregarding all of the procedural requirements

discussed above. It purposefully denied the public of notice of the sentencing

hearing so that the public could not even attempt to exercise its right to attend the

hearing. And it refused to hear the Chronicle’s objections to closure when it

moved to be heard at the hearing. The district court’s actions calculated to deny

the public a fundamental First Amendment right were clear error.

      At the outset of its involvement in the case, the Chronicle requested that the

district court give notice of hearings and allow the Chronicle to be heard prior to

closure of hearings. (R. USCA5 275) Instead, the court, in response to the

Government’s motion, not only failed to provide notice that the sentencing hearing

would be closed, it actually went out of its way to deprive the Chronicle and the

public of notice that the hearing was taking place at all. As the court stated during

the hearing: “[I]n spite of all the efforts to ensure that this hearing not be noticed

by the media, I am told that there is a reporter from the Houston Chronicle who is,

as I speak, drafting a motion regarding his request to be heard – or to be present



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during the – the hearing.”3 (R.E. Tab L at R. USCA5 310 (emphasis added)) The

court refused to hear that very motion to open the hearing and be heard on closure,

and issued an order after the hearing denying the motion as moot – even though the

mootness determination was predicated on the court’s own refusal to hear it when

it was made – and summarily noting that opening the sentencing hearing “would

have resulted in a substantial probability that the safety of a third party of the

defendant would be placed in danger.” (R.E. Tab F at R. USCA5 373)4 Later that

day – hours after the conclusion of the hearing – a “notice” purporting to announce

the setting of the hearing was posted on the docket at the court’s direction. (See

R.E. Tab K at R. USCA5 302; R.E. Tab A at Supp R. USCA5 18. Docket Entry No.

247 (giving notice of a 9:30 a.m. hearing on February 24, 2010 at 1:18 p.m. on

February 24, 2010 after the hearing concluded)) Days later, the court formally

denied the Chronicle’s original request for notice of hearings and an opportunity to

be heard if closure is contemplated, finding that such notice “is not required” and

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        The court went on to admonish the parties: “[T]o the extent that you – when
you step outside to make that – the Court’s order [permitting family members to
enter the hearing] known to the family, please do so without having anybody
else . . . know, if at all possible, what’s happening.” (Id.)
4
       The issues presented are clearly not moot because they are capable of
repetition, yet evading review. United States v. Edwards, 823 F.2d 111, 114 (5th
Cir. 1987) (citing Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 563
(1980)). Obviously, a court may not simply refuse to hear a motion and then
declare it moot based on that refusal. Indeed, even while declaring the matter
“moot,” the district court recognized that its order was “final and immediately
appealable.” (R.E. Tab F at R. USCA5 373)

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that “grant[ing] an opportunity to be heard would frustrate the purposes of sealing

the hearing.” (R.E. Tab G at R. USCA5 369)

      The court’s actions clearly violated the procedures required by the First

Amendment in several ways. The Supreme Court has required that parties be

heard on objections to closure as discussed above, and the district court’s general

conclusion that such a hearing would frustrate the purposes of closure cannot stand

in the face of this precedent. See supra at 19. It is also illogical – there is no

reason why a hearing concerning possible closure would render actual closure

ineffective. For example, if the Government fears that identification of

cooperating witnesses at a sentencing might jeopardize an investigation or

compromise the witnesses’ safety, it can explain that in open court and the court

can review any sensitive matters in camera. And if the court concludes closure is

necessary, it can close the sentencing hearing, in whole or in part, as narrowly

tailoring requires. Nothing about this commonly used procedure frustrates the

purpose of closure. See In re Washington Post Co., 807 F.2d 383, 391 (4th Cir.

1986) (noting that hearings concerning the necessity of closure do not frustrate

closure); see also Waller, 467 U.S. at 48-49) (noting critically that “[t]he court did

not consider alternatives to immediate closure of the entire hearing: directing the

government to provide more detail about its need for closure, in camera if

necessary, and closing only those parts of the hearing that jeopardized the interests



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advanced”). Accordingly, this Court should reverse the district court’s order

categorically denying the public an opportunity to be heard prior to court closures.

      The Court should also reverse the district court’s order categorically denying

the Chronicle’s request for notice of contemplated closure of hearings in the case.

As the cases above make clear, the right to be heard on closure is rendered

meaningless if there is no corresponding right to notice of closure. See supra at

19-21. The district court’s conclusory finding that notice is never required guts the

right to be heard on closure and in turn the time-honored First Amendment right to

attend criminal proceedings. The district court’s own action in posting the sham

“notice of setting” of the sentencing after it concluded appears to recognize the

right to notice, but at the same time totally undermines it.5 This Court should

reverse the denial of notice based on the First Amendment and common-law rights

of access, along with its supervisory powers. See supra at 19-21.

      The court’s specific decision to conceal the sentencing hearing is even more

troubling. The wholesale concealment of proceedings to which the First

Amendment right of access clearly applies deprived the public and the press any

opportunity to be heard prior to closure, a deprivation that cannot be justified by

any countervailing interests. Nor is it the least-restrictive means of balancing other

interests against the access right. Putting aside for a moment the substantive

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       It is notable that the post-hearing notice also misstates that the hearing will
take place in Brownsville, rather than Houston. (R.E. Tab K at R. USCA5 302)

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question whether it could ever be constitutional to hold totally secret criminal

proceedings, the court at a minimum should have given notice that the Government

had moved for a secret sentencing and held a hearing on whether circumstances

warranted it in this case if there was an objection. That procedure would give

interested parties an opportunity to be heard on the question and also an

opportunity to appeal the decision prior to being irreparably harmed through the

deprivation of their procedural and substantive rights without any process. And it

would in no way compromise the safety interest asserted by the Government. For

these reasons, the court’s decision to grant the Government’s motion to withhold

notice of the sentencing hearing should be reversed.

      In addition, the court committed reversible error in refusing to hear the

Chronicle’s objections to closure during the sentencing hearing. See Edwards, 823

F.2d at 119 (“In requiring a case-by-case resolution of the issues concerning

closure of presumptively open proceedings, the Globe Court noted that, for this

approach to be effective, ‘the press and general public must be given an

opportunity to be heard on the question of their exclusion.’”) (citing Globe, 457

U.S. at 610 n.25). The court’s conclusory reasoning that, because the hearing was

in session, recessing to hear the objections to closure would “interfere[] with the

administration of justice” is both unsupported and constitutionally inadequate. As

an initial matter, the only reason the motion was made after the hearing began is



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because the court purposefully kept the public in the dark about the hearing’s

existence, which is the antithesis of due process and procedural fairness. And it is

unclear how allowing the Chronicle to be heard prior to continuing the hearing

would interfere with the administration of justice – the order fails to articulate its

reasoning with the specificity required of a closure order and, in any event, it is

difficult to imagine how evaluation of the public’s constitutional right to attend the

sentencing would be considered “interference” with the administration of justice.

It is harder to imagine how the avoidance of that unspecified “interference” is

deemed a higher value than the First Amendment to the Constitution, requiring its

sacrifice. Indeed, there is no suggestion that closure was necessary to protect

Defendant’s Sixth Amendment fair-trial right (nor could there be given the context)

or any other right – there is no competing constitutional interest at all.6


6
        Prior to the sentencing, the district court apparently filed a sealed order
“sealing” the sentencing hearing because “docketing the sentencing hearing of the
Defendant prior to the sentencing hearing, as well as failure to seal the sentencing
hearing, will result in a substantial probability that the lives and safety of the
Defendant, Court personnel, USMS personnel, other courthouse personnel, and the
general public will be placed in danger.” (R.E. Tab E at R. USCA5 292) While
this order was entered without giving notice or giving the public a chance to raise
objections and be heard, and is therefore defective for the reasons discussed above,
it is also far too conclusory to satisfy the Press-Enterprise II standard in any event.
See Press-Enterprise II, 478 U.S. at 15 (“The First Amendment right of access
cannot be overcome by [a] conclusory assertion . . . .”); see also Edwards, 823
F.2d at 119 (explaining that Press-Enterprise II requires “specific, on-the-record,
factfindings demonstrating that a substantial probability exists that an interest of a
higher value will be prejudiced and that no reasonable alternatives to closure will
adequately protect that interest”) (emphases added).

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       This is not the first time that a court has addressed these issues. Facing

nearly identical facts, the Fourth Circuit reversed a district court’s holding of secret

plea and sentencing hearings, purposeful denial of notice, and refusal to hear

contemporaneous objections. See In re Washington Post Co., 807 F.2d at 391. As

the court explained in its decision, which this Court cited favorably in Edwards:

       The district court here, in making its decisions to close the November
       18 [plea] and November 25 [sentencing] hearings in Soussoudis’ case,
       plainly failed to comply with . . . procedural requirements. No notice
       of either of the government’s two closure motions was given to the
       public. Instead, the district court deliberately concealed the motions
       from the public by causing the omission from the court’s docket of
       any mention of either the motions or the hearings to which they
       referred. Moreover, when the Post nonetheless learned of the closure
       of the plea hearing and sought to voice its objections, the district court
       denied it any meaningful opportunity to be heard by delaying
       consideration of its request until after the conclusion of the
       proceedings which the Post desired to attend. Finally, the court failed
       to provide an adequate statement of the reasons for its closure
       decisions. . . . The[] [court’s] brief statements failed to include
       specific findings concerning the interests at stake, a discussion of the
       applicable constitutional principles, or a consideration of possible
       alternatives to closure.

Id. at 392. The court went on to emphatically reject the Government’s national-

security argument offered to support the denial of these procedural rights,

recognizing that the required procedures in no way jeopardized the asserted

interests:

       All that the district court must do is to provide interested persons with
       notice of the government’s motion and an opportunity to voice their
       objections. There is no reason to fear that these procedures would in



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      themselves alert the public to the substance of the information sought
      to be kept secret.

In re Washington Post Co., 807 F.2d at 391 (footnote omitted). This case presents

exactly the same problems; the district court’s decision here to simply forego any

notice and proceed with a secret hearing was in error and should be reversed, as

should its refusal to hear the Chronicle’s objections to closure at the hearing.

      While this appeal focuses on the procedural infirmities in the district court’s

actions discussed above, the substantive question of whether closure could have

been justified also warrants scrutiny. Significantly, this is not the typical case

where closure is premised on the worry that information discussed at a hearing

would jeopardize government investigations, individuals’ Sixth Amendment rights,

or result in some other serious substantive harm requiring subordination of First

Amendment guarantees. Instead, this is a case where the Government appears to

have taken the position that it was unable to provide adequate security to protect

against an attack on the courthouse in the absence of total secrecy. The district

court determined, based on sealed argument and affidavits, that the mere docketing

of the sentencing hearing would “result in a substantial probability that the

defendant, court personnel, United States Marshals personnel, other courthouse

personnel, and the general public will be placed in imminent danger.” (R.E. Tab L

at R. USCA5 311) The clear underpinning of this conclusion is that the




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Government must have claimed that the Gulf cartel that Defendant previously ran

would attack the proceeding knowing that Defendant would be present.

      First, the public record is devoid of any factual basis to support the court’s

vague conclusion of “imminent danger” to the “general public.” The public record

contains no information (beyond the court’s summary conclusion) to even suggest

that the Government presented credible evidence that such an attack was likely or

even contemplated, much less “imminent” and likely to be successful absent

wholesale closure and manipulation of notice in the public docket. Mere

conjecture that an attack was possible is not sufficient to justify closure. See In re

Providence Journal Co., 293 F.3d 1, 13 (1st Cir. 2002) (“[T]he First Amendment

right of public access is too precious to be foreclosed by conclusory assertions or

unsupported speculation.”); United States v. Martin, 746 F.2d 964, 972 (3d Cir.

1984) (“[S]peculative threats to [the fair-trial] right have never been sufficient to

overcome either first amendment rights to attend and report on trials or the

common law right of access to trial materials.”) (citations omitted); cf. Tinker v.

Des Moines Indep. Community School Dist., 393 U.S. 503, 508 (1969)

(“[U]ndifferentiated fear or apprehension of disturbance is not enough to overcome

the right to freedom of expression.”), quoted in Cohen v. California, 403 U.S. 15,

23 (1971).




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      Second, the mere prospect of lawless behavior does not automatically trump

the First Amendment. America’s First Amendment jurisprudence was founded on

conflicts between the First Amendment guarantees and efforts to maintain public

order. Over time, the conflict has been resolved overwhelmingly in favor of the

First Amendment. The roots of this can be traced to Justices Holmes and Brandeis,

whose opinions form the foundation for the law today.7 That law is clear that

threats of violence or lawlessness do not justify suppression of First Amendment

rights in all but the most pressing circumstances. See Hess v. Indiana, 414 U.S.

105, 107-09 (1973) (reversing on First Amendment grounds conviction based on

war protester’s exclamation that the protesters would “take” the street);

Brandenburg v. Ohio, 395 U.S. 444, 447-48 (1969) (“[T]he constitutional

guarantees of free speech and free press do not permit a State to forbid or proscribe

advocacy of the use of force or of law violation except where such advocacy is

directed to inciting or producing imminent lawless action and is likely to incite or

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      See Abrams v. United States, 250 U.S. 616, 630 (1919) (Holmes, J.,
dissenting) (“I think that we should be eternally vigilant against attempts to check
the expression of opinions that we loathe and believe to be fraught with death,
unless they so imminently threaten immediate interference with the lawful and
pressing purposes of the law that an immediate check is required to save the
country.”); Whitney v. California, 274 U.S. 357, 376-77 (1927) (Brandeis, J.,
concurring) (“Fear of serious injury cannot alone justify suppression of free speech
and assembly. . . . Those who won our independence by revolution were not
cowards. . . . They did not exalt order at the cost of liberty. . . . Only an
emergency can justify repression. Such must be the rule if authority is to be
reconciled with freedom. Such, in my opinion, is the command of the
Constitution.”) (footnote omitted).

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produce such action.”). What these cases demonstrate is that concerns over safety

or public order cannot override First Amendment rights unless there is evidence

that imminent lawless action resulting in serious harm will occur absent restriction

of First Amendment rights.

      Finally, even if the safety concerns here were more than speculative, they

could not have justified the actions of the trial court here. Surely there were

security measures short of secret proceedings that could have ensured safety. The

notion that a United States court supported by the United States’ unparalleled

security forces including the Marshals service cannot provide a safe location for

criminal proceedings without conducting those proceedings entirely in secret is

both unbelievable and disturbing. Indeed, the court granted the Government’s

motion to transfer the case from Brownsville to Houston precisely because the

Government represented that Houston was the “best option for USMS personnel to

safely, adequately, and securely meet all the needs and perform all the duties

associated with the trial.” (See R.E. Tab J at R. USCA5 80, 85) If the Government

and USMS believed that even the Houston courthouse could not be secured, they

should have moved to transfer the case to another venue.

      Contrary to what took place in this case, the United States has a rich and

proud tradition of conducting public criminal trials and sentencing proceedings.




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This includes cases throughout the country’s history involving notorious

defendants backed by dangerous organizations.

      Notable examples include:

             • accused terrorists:

                o Zacarias Moussaoui, who participated in the 9/11 plot, was

                    sentenced in open court in the U.S. District Court for the

                    Eastern District of Virginia. No. 1:2001-cr-00455 (E.D. Va.);

                    see Neil A. Lewis, One Last Appearance, and Outburst, From

                    Moussaoui, N.Y. Times, May 5, 2006, available at

                    http://www.nytimes.com/2006/05/05/us/05moussaoui.html

                    (recounting sentencing proceedings).8

                o Those responsible for the 1998 American embassy bombings

                    in Kenya and Tanzania were openly tried and sentenced in the

                    Southern District of New York. No. 1:1998-cr-01023

                    (S.D.N.Y.); see Phil Hirschkorn, Four embassy bombers get

                    life, CNN, Oct. 21, 2001,

                    http://edition.cnn.com/2001/LAW/10/19/embassy.bombings/

                    (recounting sentencing proceedings).



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      The Court can take judicial notice of the fact of these proceedings. See Fed.
R. Evid. 201.

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        o Ramzi Yousef, who planned the 1993 World Trade Center

           bombing was openly tried and sentenced for his role in a plot

           to assassinate the Pope in the Southern District of New York.

           No. 1:1993-cr-00180 (S.D.N.Y.); see ‘Proud terrorist’ gets life

           for Trade Center bombing, CNN, Jan. 8, 1998,

           http://www.cnn.com/US/9801/08/yousef.update/ (recounting

           sentencing proceedings).

     • organized-crime bosses:

        o Al Capone was openly tried and sentenced in the Northern

           District of Illinois. See Meyer Berger, Capone Convicted of

           Dodging Taxes; May Get 17 Years, N.Y. Times, Oct. 17, 1931,

           available at

           http://www.nytimes.com/learning/general/onthisday/big/1017.

           html (recounting trial and conviction).

        o John Gotti was openly tried and sentenced in the Eastern

           District of New York. No. 1:1990-cr-01051 (E.D.N.Y.); see

           Arnold H. Lubasch, Gotti Sentenced to Life in Prison Without

           the Possibility of Parole, N.Y. Times, June 24, 1992, available

           at http://www.nytimes.com/1992/06/24/nyregion/gotti-




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           sentenced-to-life-in-prison-without-the-possibility-of-

           parole.html (recounting sentencing proceedings).

     • accused drug cartel leaders:

        o Juan Garcia Abrego, who like Cardenas-Guillen, was a “former

           head of the Gulf Cartel,” was openly tried and sentenced in

           Houston in the mid-1990s. No. 4:1993-cr-00167 (S.D. Tex.);

           see R.E. Tab J at R. USCA5 78 (discussing Abrego

           proceedings); United States v. Garcia Abrego, 141 F.3d 142

           (5th Cir. 1998); Terri Langford, Life in jail for drug lord,

           Associated Press, Feb. 1, 1997, available at

           http://www.brownsvilleherald.com/common/printer/view.php?

           db=brownsville&id=23141 (recounting sentencing

           proceedings))

        o Jorge Mario Paredes-Cordova, “designated by the United

           States Department of Justice as one of the world’s most

           significant drug kingpins,” was tried and sentenced in open

           court in the Southern District of New York. No. 1:2003-cr-

           00987 (S.D.N.Y.); see Manhattan Federal Jury Finds Cocaine

           Kingpin Guilty on Narcotics Importation and Distribution

           Charges, U.S. Attorney’s Office, Nov. 6, 2009, available at



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                    http://www.justice.gov/usao/nys/pressreleases/November09/pa

                    redescordovajorgemarioverdictpr.pdf; Bruce Golding,

                    Guatemalan drug kingpin cries after getting 31 years in the

                    slammer, N.Y. Post, Apr. 16, 2010, available at

                    http://www.nypost.com/p/news/local/manhattan/guatemalan_dr

                    ug_kingpin_cries_after_Mb7qndOT8kdColDpvObzHI

                    (recounting sentencing proceedings).

                 o Jesus Vicente Zambada-Niebla, an allegedly high-ranking

                    member of the Mexican Sinaloa drug cartel is currently being

                    prosecuted in the Northern District of Illinois in open

                    proceedings. No. 1:2009-cr-00383 (N.D. Ill.); see Mike

                    Robinson, Jesus Vincente Zambada-Niebla Pleads Not Guilty:

                    Alleged Mexican Cartel Leader Denies Charges, Associated

                    Press, Feb. 23, 2010, available at

                    http://www.huffingtonpost.com/2010/02/23/jesus-vincente-

                    zambadanie_n_473561.html (recounting plea hearing).

When appropriate, the courts in these cases employed additional security and

screening to ensure safety while preserving the nation’s constitutional values in




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holding open proceedings, just like USMS pledged to do in this case.9 See Court

Security, U.S. Marshals Service, at http://www.usmarshals.gov/duties/courts.htm

(last visited May 14, 2010) (noting use of “additional security resources for 117

trials including the African Embassies Bombing Trial” in 2002); R.E. Tab J at R.

USCA5 85.

      Without a credible explanation for why secrecy was necessary in this case,

the public is left to question the parties’ motives in conducting the proceedings in

the dark. See Richmond Newspapers, 448 U.S. at 571-72. Indeed, even the district

court noted that she was reluctant to impose only a 25-year sentence given

Defendant’s “legacy to [his] country, to our communities on both sides of the

border, and to society” is “[k]idnappings, extortion, gun battles in the streets, a

desperate economy, [and] innocence lost.” (R.E. Tab L at R. USCA5 317; see also

R.E. Tab J at R. USCA5 74-75 (discussing Defendant’s actions)) Whether or not

the sentence fits the crimes, secrecy can erode public confidence in the criminal-

justice system. Even where a result is perfectly justified, “where the trial has been

concealed from public view an unexpected outcome can cause a reaction that the

system at best has failed and at worst has been corrupted.” Richmond Newspapers,


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       If necessary, the Marshals Service could have requested military assistance
to secure the courthouse. See generally United States v. Gerena, 649 F. Supp.
1179 (D. Conn. 1986) (finding no statutory or constitutional posse comitatus
violation when Marshals used military equipment and personnel in transporting a
defendant to a courthouse).

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448 U.S. at 571. The secrecy of the proceedings in this case also undermined the

“important prophylactic purpose” of “open processes of justice” in “providing an

outlet for community concern, hostility, and emotion.” Richmond Newspapers,

448 U.S. at 571; see also id. (“The crucial prophylactic aspects of the

administration of justice cannot function in the dark; no community catharsis can

occur if justice is done in a corner or in any covert manner.”) (quotations and

alteration omitted). The district court’s orders and actions, if left undisturbed, will

undermine public confidence in the criminal-justice system. They should be

reversed.




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                                   CONCLUSION

      For the reasons discussed above, the Chronicle respectfully asks that this

Court: (1) reverse the district court’s general order denying the public notice of

contemplated closure and an opportunity to be heard on such closure; (2) reverse

the district court’s specific decision to deprive the public of notice of the

sentencing hearing; and (3) reverse the district court’s order denying the

Chronicle’s motion made at the sentencing hearing seeking an opportunity to be

heard regarding closure of that hearing.

                                        Respectfully submitted,

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                         CERTIFICATE OF SERVICE

                               No. 10-40221
 United States of America v. Cardenas-Guillen v. Hearst Newspapers, L.L.C

      I hereby certify that, on this the 19th day of May, 2010, the foregoing Brief
of Appellant has been filed through the ECF system of the United States Court of
Appeals for the Fifth Circuit, and that counsel of record for the parties have been
served in the manner described below.

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1.   This brief complies with the type-volume limitation of FED. R. APP.

     P. 32(a)(7)(B) because this brief contains 9,424 words, excluding the parts

     of the brief exempted by FED. R. APP. P. 32(a)(7)(B)(iii).

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